      Case:00-04659-GAC7 Doc#:56 Filed:02/07/03 Entered:02/07/03 00:00:00           Desc:
                          Converted from NIBS Page 1 of 2
 1
                           IN THE UNITED STATES BANKRUPTCY COURT FOR
 2                                THE DISTRICT OF PUERTO RICO
 3
      IN THE MATTER OF:
 4
      LEBRON DIAZ, GERARDO                      CASE NO. 00-04659 GAC
 5
      GARCIA ORTIZ, NOELIA                      Chapter 7
 6
      XXX-XX-XXXX
 7
      XXX-XX-XXXX                               FILED & ENTERED ON 2/7/2003
 8
                      Debtor(s)
 9

10                                    DISCHARGE OF DEBTOR
11         It appearing that the debtor is entitled to a discharge, IT IS ORDERED:     The
12   debtor is granted a discharge under section 727 of title 11, United States Code,
13   (the Bankruptcy Code).
14          San Juan, Puerto Rico, this 7 day of February, 2003.
15

16                                                            BY THE COURT
17

18
                                                              Gerardo A. Carlo
19                                                          U.S. Bankruptcy Judge
20

21   cc:   all creditors

22

23
                    SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
24

25

26

27

28

29

30

31

32

33
 1    Case:00-04659-GAC7 Doc#:56 Filed:02/07/03 Entered:02/07/03 00:00:00        Desc:
                          Converted from NIBS Page 2 of 2
 2
                EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE
 3
         This court order grants a discharge to the person named as the debtor. It is
 4   not a dismissal of the case and it does not determine how much money, if any, the
     trustee will pay to creditors.
 5
     Collection of Discharged Debts Prohibited
 6
          The discharge prohibits any attempt to collect from the debtor a debt that
 7   has been discharged.    For example, a creditor is not permitted to contact a
     debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
 8   wages or other property, or to take any other action to collect a discharged debt
     from the debtor. [In a case involving community property:] [There are also
 9   special rules that protect certain community property owned by the debtor's
     spouse, even if that spouse did not file a bankruptcy case.] A creditor who
10   violates this order can be required to pay damages and attorney's fees to the
     debtor.
11
          However, a creditor may have the right    to enforce a valid lien, such as a
12   mortgage or security interest, against        the debtor's property after the
     bankruptcy, if that lien was not avoided or    eliminated in the bankruptcy case.
13   Also, a debtor may voluntarily pay any debt    that has been discharged.
14   Debts That are Discharged
15        The chapter 7 discharge order eliminates a debtor's legal obligation to pay
     a debt that is discharged. Most, but not all, types of debts are discharged if
16   the debt existed on the date the bankruptcy case was filed. (If this case was
     begun under a different chapter of the Bankruptcy Code and converted to chapter
17   7, the discharge applies to debts owed when the bankruptcy case was converted.)
18   Debts that are Not Discharged
19        Some of the common types of debts which are not discharged in a chapter 7
     bankruptcy case are:
20
              a. Debts for most taxes;
21
              b. Debts that are in the nature of alimony, maintenance or support;
22
              c. Debts for most student loans;
23
              d. Debts for most fines,       penalties,    forfeitures,   or    criminal
24               restitution obligations;
25            e. Debts for personal injuries or death caused         by   the   debtor’s
                 operation of a motor vehicle while intoxicated;
26
              f. Some debts which were not properly listed by the debtor;
27
              g. Debts that the bankruptcy court specifically has decided or will
28               decide in this bankruptcy case are not discharged;
29            h. Debts for which the debtor has given up the discharge protections by
                 signing a reaffirmation agreement in compliance with the Bankruptcy
30               Code requirements for reaffirmation of debts.
31        This information is only a general summary of the bankruptcy discharge.
     There are exceptions to these general rules. Because the law is complicated,
32   you may want to consult an attorney to determine the exact effect of the
     discharge in this case.
33
